Case 3:16-cv-08277-DLR Document 24-3 Filed 10/18/17 Page 1 of 6

EXhibit 3

Caliber Home Loans, Inc. Summit Services Realty LLC
and LSF9 Nlaster Participation Trust
Identifies Themselves
Certified Letters
"To Collect A Debt"

Trustee Sale 2/27/2017

NO. CV-16-08277-PCT-DLR

Case 3:16-cv-08277-DLR Document 24-3 Filed 10/18/17 Page 2 of 6

Summit Trustee Services
2763 Camino Del Rio S., lst FL
San Diego, CA 92108

7103 WEEB EWHE BLBB SEh3

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AZ-l6-6657-JY

MICHAELJ BROSNAHAN

21 HUMMINGBIRD CIR
SEDONA, AZ 86336-7012

15649061

 

 

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*VLO3*

Case 3:16-cv-08277-DLR Document 24-3 Filed 10/18_/17 Page 3 of 6
Officlal Records of Coconmo County 3770490

Patty Hansen - Recorder 11/28/2016 04:33:50 PM Pgs: 2
Sll\/lPL|F|LE LC E-RECORD|NG TS $12.00

Recording requested by:

When recorded mail to:

Caliber Home Loans, |nc. - Document Contro|
13801 W|RELESS WAY

OKLAHOMA C|TY, OK 73134

 

Space above this line for recorders use
Order NO.: 160175865-AZ-VO| TS No.: AZ-16-6657-JY APN : 401-51-046 5
Notice of Trustee's Sale

The following legally described trust property will be sold, pursuant to the power of Sale under that certain Deed
of Trust dated 5/25/2006 and recorded 5/31/2006 as instrument 3386186, Book xxx, Page xxx, and loan
modification dated 9/4/2009 and recorded on 9/4/2009 as instrument Number 3537378, in Book XX, Page XX in
the office of the County Recorder of COCONINO County, Arizona; and at public auction to the highest bidder.
Notice! |f you believe there is a defense to the trustee sale or if you have an objection to the trustee sale, you
must file an action and obtain a court order pursuant to rule 65, Arizona rules of civil procedure, stopping the
sale no later than 5:00 p.m. mountain standard time of the last business day before the scheduled date of the
sale, or you may have waived any defenses or objections to the sale. Unless you obtain an order, the sale will bel
final:

Sale Date and Tlme: 2/27/2017 at 11:30 AM

Sale Location: ' Sales held daily at 11:30:00 AlVl At the Main entrance to the Coconino County
' Court-house, 200 N. San Francisco Street, Flagstaff, AZ

Lega| Descriptlon: LOT 33, OF CHAPEL BELLS ESTATES UNIT 4, ACCORDlNG TO CASE 2 OF MAPS,

PAGE 324, RECORDS OF COCON|NO COUNTY, ARIZONA

Purported Street Address: 21 HUMM|NGB|RD CIR, SEDONA, AZ 86336

Tax Parcel Number: 401-51-046 5

Original Principal Balance: $373,500.00

Name and Address of Current Benefcciary: LSF9 lVlaster Participation Trust, by Caliber Home Loans, lnc.,

solely in its capacity as servicer
C/O Caliber Home Loans, |nc.
16745 W. Bernardo Drive, Ste 300

San Diego, CA 92127

Name and Address of Origlnal Trustor: MICHAELJ BROSNAHAN , A MARR|ED MAN AS HlS SOLE &
SEPARATE PROPERTY
21 HUMN||NGB|RD ClR, SEDONA, AZ 86336-7012

Name and Address of Trustee/Agent: SU|V||V||T SERV|CES AND REALTY, LLC
1674`5 W. Bernardo Dr., Ste 100
San Diego, CA 92127

 

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Phone: (866) 248-2579
Sales Line: 714-730-2727

Login to: www.servicelinkasap.com
AZ-16-6657-1Y

The successor trustee qualifies to act as a trustee under A.R.S. §33-803A (1) in its capacity as a licensed Arizona
Real Estate Broker. lf the Trustee is unable to convey title for any reason, the successful bidder’s sole and
exclusive remedy shall be the return of monies paid to the Trustee, and the successful bidder shall have no
further recourse. |f the sale is set aside for any reason, the Purchaser at the sale shall be entitled only to a return
of the deposit paid. The Purchaser shall have no further recourse against the Mortgagor, the Mortgagee, or the
Mortgagee’s Attorney.

Dated: 11/23/2016 SUMMIT SERV ES

    

 

 

 

By:J sun Yahnke,AvP

 

A notary public or other officer completing this certificate verifies only the identity of the individual who signed the document to
which this certificate is attached, and not the truthfulness, accuracy, or validity of that document

 

 

State of California )
County of San Diego )
On 11/23/2016 before me, leamette L' Faust . the undersigned Notary Pub|ic, personally appeared

 

Justin Yahnke, who proved to me on the basis of satisfactory evidence to be the person whose name is subscribed
to the within instrument and acknowledged to me that he executed the same in his authorized capacity, and that

by his signature on the instrument the person, or the entity upon behalf of which the person acted, executed the
instrument

l certify under PENALTY OF PERJURY under the laws of the State of California that the foregoing paragraph is true
and correct. `

"
111
AA`

AA

T

JEANNETTE L. FAUS _

Notary public - California
San Diego County

" ' 82
Gommission # 20638
My Comm. Expires May 6. 2018§

Signature °¢/"' ' Zj¢ %/{M (Sea[) §§,~_ vvvvvvvvvvv

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AA"`
.'~‘

W|TNESS my hand and official seal

LVNNF"

 

if you have previously been discharged through bankruptcy;you may have been released of personal liability for
this loan in which case this letter is intended to exercise the note holder's rights against the real property only.
TH|S OFF|CE lS ATTEMPT|NG TO COLLECT A DEBT AND ANY |NFORMATION OBTA|NED W|LL BE USED FOR THAT
PURPOSE,
As required by law, you are hereby notified that a negative credit report reflecting on your credit record may be
submitted to a credit report agency if you fail to fulfill the terms of your credit obligations

' - - 7-DLR Document 24-3 Filed 10/18/17 Page 5 of 6
CaSe 3'16 CV 0827 Official Records of Coconino County 3761244

Patty Hansen - Recorder 08/24/2016 03:06:08 Pl\/l Pgs: 2
SlMPLlF|LE LC E-RECORD|NG NST $9.00

Recording Requested by:

When recorded mail to:
Caliber Home Loans, |nc. - Document Control

 

13801 W|RELESS WAY
OKLAHOMA ClTY, OK 73134

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TS # AZ~16-6657-IY Order # 160175865-AZ-V0|

Substitution of Trustee

WHEREAS, MlCHAEL.l BROSNAHAN , A MARR|ED MAN AS HlS SOLE & SEPARATE PROPERTY
was the original Trustor, F|DEL|TY NAT|ONAL T|TLE lNSURANCE COMPANY was the original Trustee,
and MORTGAGE ELECTRON|C REG|STRAT|ON SYSTEMS, lNC., AS NOM|NEE FOR COUNTRYW|DE BANK,
N.A., lTS SUCCESSORS AND ASS|GNS was the original Beneficiary under that certain Deed of Trust
dated 5/25/2006 and recorded on 5/31/2006 as |nstrument No. 3386186, in book xxx, page xxx and
loan modification dated 9/4/2009 and recorded on 9/4/2009 as |nstrument Number 3537378, in Book
XX, Page XX of Ofncia| Records of COCON|NO County, AZ describing land therein as LOT 33, OF CHAPEL
BELLS ESTATES UN|T 4, ACCCRD|NG TO CHASE 2 OF MAPS, PAGE 324, RECORDS OF COCON|NO
COUNTY,AR|ZONA. and;

WHEREAS, the undersigned is the present Beneficiary under said Deed of Trust, and

WHEREAS, the undersigned desires to substitute a new Trustee under said Deed of Trust in
place and stead of said original Trustee, or Successor Trustee, thereunder, in the manner provided for in
said Deed of Trust,

NOW, THEREFORE, the undersigned hereby substitutes SUMM|T SERV|CES AND REALTY, LLC, a
California Corporation, whose address is 16745 W. Bernardo Dr. Suite 100, San Diego, CA 92127 as
Trustee under said Deed of Trust,

The successor trustee qualifies to act as a trustee under A.R.S. §33-803A (1) in its capacity as a
licensed Arizona Real Estate Broker.

Page 1

Case 316-arrearages egan/giant O§ii%;doi%ig/li Page 6 Oi 6

Substitution of Trustee - AZ
TS # AZ-16-6657-JY
Page 2

Dated: Y

LSF9 Master Participation Trust, by Caliber Home Loans,
lnc., solely in its capacity as servicer

 

By: Brandelfy V U

Authorized SignatOry

 

 

A notary public or other officer completing this certificate verifies only the identity of the individual who signed the
document to which this certificate is attached, and not the truthfulness, accuracy, or validity of that document.

 

State of California
) ss
County of San Diego

On MI§ 2 2 2016 before me, Jeannette L- Fau$t . the undersigned Notary Public,
personal y appeared _P,mndyLowrv who proved to me on the basis of satisfactory

evidenc@be the person whose name is ubscribed to the within instrument and acipowledged to me

 

that he executed the same in hi authorized capacity, and that by hi signature on the
instrument the person, or the entity upon behalf of which the person acted, executed the instrument.

l certify under PENALTY OF PERJURY under the laws of the State of California that the foregoing
paragraph is true and correct. ` ` -

  

  

JEAIIUTE l. FM|$T

W|TN ESS my hand and official seal wanting 3"" ul

    
 
 
 

Signature

 

